             Case 4:06-cr-40023-SPM                  Document 89        Filed 11/28/06            Page 1 of 6       Page ID #225
% A 0 245B                    - in a Criminal Case
              (Rev. 06105) Judement
              Sheet I




                      SOUTHERN                                 District o f                                 ILLINOIS

         UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                            v.
              CHRISTOPHER A. FRANCIS
                                                                       Case Number:            4:06CR40023-003-JPG

                                                                       USM Number: 06859-025
                                                                        John D. Stobbs. II-.
                                                                       Defendant's Attorney
THE DEFENDANT:
                                                                                                              P
                                                                                                                  p40
                                                                                                                    1

gpleaded gu~ltyto count(s)         1 of the lnd~ctrnent                                                h
   pleaded nolo contendere to count(s)                                                        "%$
   whlch was accepted by the court                                                                  87 QG
   was found guilty on connt(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                Nature of Offense                                                        Offense Ended              Count
                                                                .
                                                               %I
                                                                .
                                  Intent to Distribute 500 Grams or More of Mixture containing



       The defendant is sentenced as provided in pages 2 through           10          of this judgment. The sentence is imposed pursuant to
the Sentencing Refonn Act of 1984.
   The defendant has been found not guilty on count(s)
   Count(s)                                               is        are dismissed on the motion of the United States.

         It IS ordrrcd that the defendant must notify thr Unjted States anorney for t h ~ dismct
                                                                                          s      w~thin30 da s of any changc oiname, res!dence,
or ma~lingaddress unrll all fines, resotunon, costs, and spec~alassessments Imposed by &ISjudgment arc fui; paid. If ordered to pay rcsrltutlon,
the defendant must notify the court and L'n~tedStates anorney of material changes in economlc clrcumswnces.




                                                                        J. Phil Gilbert                             District Judge
                                                                       Name of Judge                               Title afJudge



                                                                       Date
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A 0 245B      (Rev. 06/05)Judgment in Criminal Case
              Sheet 2 -Imprisonment


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                                                              IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

 240 months on Count 1 of the Indictment. This sentence is to run concurrent to undischarged terms of incarceration in case
 numbers 03-CF-18, 03-CF-83 and 04-CF-65 in Gallatin County, Illinois


         The court makes the following recommendations to the Bureau of Prisons:




     I$ The defendant is remanded to the custody of the United States Marshal.

         The defendant shall surrender to the United States Marshal for this district:

                at                                     a.m.         p.m.      on
                as notified by the United States Marshal.

         The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                before 2 p.m. on
                as notified by the United States Marshal.
                as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
I have executed this judgment as follows:




           Defendant delivered on                                                         to

at                                                    , with a certified copy of this judgment.



                                                                                                     UNITED STATES MARSHAL


                                                                            BY
                                                                                                  DEPUTY UNITED STATES MARSHAL
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A 0 245B      (Rev. 06/05) Judgment in a Criminal Case
              Sheet 3 -Supervised Release
                                                                                                           Judgment-Page       3    of       10
 DEFENDANT: CHRISTOPHER A. FRANCIS
 CASE NUMBER: 4:06CR40023-003-JPG
                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term o f :

 10 years on Count 1 of the Indictment



     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Pnsons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawful1 possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall su%mit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
        The defendant shall not possess a fxeatm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
@ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicable.)
        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
    If this 'udgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule ofl~aymentssheet of t h ~judgment.
                                   s
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
   1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the fust five days of
           each month,
   3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation off~cee
   4)      the defendant shall support his or her dependents and meet other family responsibilities;
   5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
   6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)      the defendant shall refrain from cxccssi\.c use of alcohol and shall not purchase. possc>s, use, djstr~bute,or ahinlstcr any
           controlled substance or any paraphemaha related to any conuolled substances, except as prescr~bedby a physlclan;
   8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)      the defendant shall not associate with any persons en aged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the protation officer;
  10)      the defendant shall pe,rmit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed m plain mew of the probation officer;
  11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
  13)      as directed by the robation officer, the defendant shall notifythird parties of risks that may be occasioned by the defendant's criminal
           record or           history or charactenshcs and shall pernnt the probation officer to make such nohficatlons and to c o n f i i the
           defendant s compliance with such notification requirement.
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A 0 2458    (Rev. 06105) Judgment in a Criminal Case
            Sheet 3C - Sumwised Release
                                     ~   ~




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                                             SPECIAL CONDITIONS OF SUPERVISION
 X The defendant shall participate in a program of mental health treatment, as directed by the probation officer, until such
 time as the defendant is released from the program by the probation officer.

 X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the term of supervised release. The defendant shall pay the fine in installments of $20.00 per month or
 ten percent of his net monthly income whichever is greater.

 X The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
 with access to any requested financial information. The defendant is advised that the probation office may share financial
 information with the Financial Litigation Unit.

 X The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, andlor any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
 immediately notify the probation officer of the receipt of any indicated monies.

 X The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
 dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
 residence andlor participation in a residential treatment facility. Any participation will require complete abstinence from all
 alcoholic beverages. ,The defendant shall pay for the costs associated with substance abuse counseling andlor testing
 based on a co-pay sliding fee scale approved by the United States Probation Office. Co-pay shall never exceed the total
 costs of counseling.

 X Defendant shall submit within 15 days not to exceed 52 tests in a one year period for drug urinalysis.
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A 0 2458   (Rev. 06/05) Judgment in a Criminal Case
           Sheet 5 -Criminal Monetary Penalties


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                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                                              -
                                                                             Fine                                   Restitution
TOTALS            $ 100.00                                                 $ 250.00                             $ 0.00



     The determination of restitution is deferred until                   . An Amended Judgment in a Criminal Case(A0 245C) will be entered
     after such determination.

     The defendant must make restitution (including community restitution) to the following payees in the amount listed below

     If the defendant makes a partial payment, each pa ee shall receive an approximately ro ortioned ayment, unless specified otherwise in
     the priority order or percentage payment column%elow. However, pursuant to 18 J s . 6 . 5 3&),    all nonfederal victims must be paid
     before the Umted States 1s pald.

Xnme of Pavee                                                                                       Restitution Ordered            Yrioritv or Percentarc




TOTALS                                $                            0.00            $                       0.00


      Restitution amount ordered pursuant to plea agreement $

      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fme is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).

      The court determined that the defendant does not have the ability to pay interest and it is ordered that:
      @f the interest requirement is waived for the           I$     fine          restitution.
           the interest requirement for the            fine               restitution is modified as follows:


* Findings for the total amount of losses are re uired under Chapters 109.4, 110, 110.4, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 199%.
           Case 4:06-cr-40023-SPM                     Document 89         Filed 11/28/06          Page 6 of 6         Page ID #230
A 0 2458   (Rev. 06105) Judgment in a Criminal Case
           Sheet 6 -Schedule of Payments

                                                                                                                            6
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                                                      SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A     @ Lump sum payment of $                               due immediately, balance due

                 not later than                                 ,or
                 in accordance                C,       D,        E, or          F below; or
B          Payment to begin immediately (may be combined with              C,          D, or        F below); or

C          Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or
D          Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E          Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     Id( Special instructions regarding the payment of criminal monetary penalties:
           While on supervised release, the defendant shall make monthly payments in the amount of $20.00 or 10% of his
           net monthly income, whichever is greater.




Unless the coun has express1 ordered othcrwis:, if this jud ment ~mposesi m p r i s o n m m t , R a ~oicrimnal
                                                                                                     t         monctsly penalties is due durin
                               Y
impr~sonment. All crimina moneta penalties, except fhose payments nude throug
Responsibility Program, are made 10% clerk of the coun.
                                                                                                c Federal Bureau of Prisons' Inmate i;manci$


The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



      Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




[7   The defendant shall pay the cost of prosecution.

17 The defendant shall pay the following court cost(s):
     The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall he applied in the following order: ( I assessment. (2) restitut~onprincipal, (3) restitution interest, (4) fine principal,
                                                       1
( 5 ) fine interest, ( 6 )community restitution, (7) pena tles, and (8) costs, including cost of prosecut~onand suun cost>.
